                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


LAURIE ARNDT,                                      :             CIVIL ACTION
                            Plaintiff,             :
                                                   :             No. 14-5586
                       v.                          :
                                                   :
WELLS FARGO BANK, N.A.,                            :
MORTGAGE CONTRACTING                               :
AND SERVICES a/k/a                                 :
MORTGAGE CONTRACTING                               :
SERVICES LLC,                                      :
                    Defendants.                    :


                                           Order
       This 20th day of May, 2015, for the reasons stated in my accompanying memorandum

opinion, the respective Motions to Dismiss filed by Defendants Wells Fargo and MCS are

GRANTED IN PART and DENIED IN PART, as follows:

   1. Defendants’ Motions to Dismiss Count IV of Plaintiff’s Complaint (Invasion of Privacy –
       Intrusion Upon Seclusion) are GRANTED WITHOUT PREJUDICE;
   2. Defendants’ Motions to Dismiss Count V of Plaintiff’s Complaint (Intentional Infliction
       of Emotional Distress) are GRANTED WITH PREJUDICE;
   3. Defendants’ Motions to Dismiss Count VI of Plaintiff’s Complaint (Negligent Infliction
       of Emotional Distress) are GRANTED WITHOUT PREJUDICE; and
   4. Defendants’ Motions to Dismiss Plaintiff’s request for punitive damages are DENIED
       without prejudice to Defendants to reassert their arguments at summary judgment.
   5. Plaintiff may amend her Complaint without leave of Court within 21 days of the entry of
       this Order.
                                                                /s/ Gerald Austin McHugh
                                                          United States District Court Judge
